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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF NEW JERSEY


  In re:                                         Chapter 11

  IQ DENTAL SUPPLY, LLC,                         Case No. 23-21402 (SLM)

               Debtor.


                              PLAN OF REORGANIZATION


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        IQ Dental Supply, LLC (the “Debtor”) submits this Plan of Reorganization pursuant to
 chapter 11 of the Bankruptcy Code.

                                            ARTICLE I
                                          INTRODUCTION

         The Debtor is the debtor-in-possession in the above-captioned chapter 11 case. On
 December 8, 2024, the Debtor commenced a bankruptcy case by filing a voluntary chapter 11
 petition under the Bankruptcy Code (as defined herein). This document is the chapter 11 plan (the
 “Plan”) proposed by the Debtor. This is a reorganization plan. In other words, the Plan Proponent
 seeks to accomplish payments under the Plan by satisfying Administrative Expense Claims, with the
 exception of Administrative Tax Claims, in full on the Effective Date. Allowed Unsecured Claims
 shall receive the pro rata share of a dividend of $1,500,000 over 5 years.

         For a discussion of the Debtor’s history, business, risk factors associated with this Plan and
 for a summary and analysis of this Plan and related matters, reference is made to the Disclosure
 Statement (as defined herein). Subject to the restrictions on modifications set forth in section 1127
 of the Bankruptcy Code and Bankruptcy Rule 3019 and any restrictions on modifications set forth
 herein, the Plan Proponent expressly reserves the right to alter, amend, or modify this Plan, one or
 more times before substantial consummation thereof.

        The contents of this Plan should not be construed as legal, business, or tax advice. Each
 holder of a Claim should consult its own legal counsel and accountant as to legal, tax, and other
 matters concerning their Claim.

                                      ARTICLE II
                        INTERPRETATION OF TERMS AND DEFINITIONS

          2.1.     Interpretation.

          For purposes of this Plan:

               2.1.1. any term that is not defined herein, but that is used in the Bankruptcy Code
 or the Bankruptcy Rules, shall have the meaning assigned to that term in the Bankruptcy Code or
 the Bankruptcy Rules, as applicable;

                2.1.2. the terms “including” or “include(s)” are intended to be illustrative and not
 exhaustive, and shall be construed as “including, but not limited to” or “includes, but is not limited
 to”;

                 2.1.3. the phrase “relating to” or “relates to” means “with regard to, with respect
 to, by reason of, on account of, based on, arising out of, relating to, or in any way connected with”;

                 2.1.4. whenever the context requires, terms shall include the plural as well as the
 singular number, and the masculine gender shall include the feminine and the feminine gender
 shall include the masculine;




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               2.1.5. the rules of construction set forth in section 102 of the Bankruptcy Code
 and in the Bankruptcy Rules shall apply;

                 2.1.6. unless the context should otherwise require, all references to documents to
 be filed shall refer to filing with the Bankruptcy Court in accordance with the Bankruptcy Code
 and Bankruptcy Rules;

               2.1.7. any reference in this Plan to a contract, instrument, release, indenture, or
 other agreement or document being in a particular form or on particular terms and conditions
 means that such document shall be substantially in such form or substantially on such terms and
 conditions;

               2.1.8. any reference in this Plan to an existing document or exhibit filed or to be
 filed means such document or exhibit, as it may have been or may be amended, modified or
 supplemented;

                 2.1.9. unless otherwise specified, all references in this Plan to “Articles,”
 “Sections,” “Schedules” and “Exhibits” are references to Articles, Sections, Schedules, and
 Exhibits of or to this Plan;

                 2.1.10. the words “herein,” “hereof,” and “hereto” refer to this Plan in its entirety
 rather than to a particular portion of this Plan;

                 2.1.11. captions and headings to Articles and Sections are inserted for ease of
 reference only and shall not be considered a part of this Plan or otherwise affect the interpretation
 of this Plan; and

                 2.1.12. this Plan supersedes all prior drafts of this Plan, and all prior negotiations,
 agreements, and understandings with respect to this Plan, evidence of which shall not affect the
 interpretation of any provision of this Plan.

          2.2.     Definitions.

         Unless otherwise provided in this Plan, all terms used herein shall have the meanings
 assigned to such terms in the Bankruptcy Code or the Bankruptcy Rules. For the purposes of this
 Plan, the following terms (which appear in this Plan in capitalized form) shall have the meanings
 set forth below, and such meanings shall be equally applicable to the singular and to the plural
 form of the terms defined, unless the context otherwise requires.

                   2.2.1.   “Action” means any lawsuit, proceeding, or other action in a court or any
 arbitration.

                2.2.2. “Administrative Expense Claim” means any Claim constituting an
 actual, necessary cost or expense of administering the Chapter 11 Case under sections 503(b)(1)
 through (8) and 507(a)(2) of the Bankruptcy Code including, (a) any actual and necessary costs
 and expenses of preserving the Estate, (b) all compensation and reimbursement of expenses under
 sections 330 or 503 of the Bankruptcy Code, (c) any fees or charges assessed against the Estate



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 under section 1930 of chapter 123 of title 28 of the United States Code, and (d) all Claims arising
 under section 503(b)(9) of the Bankruptcy Code.

                2.2.3. “Affiliate” means any past, present, or future Person that controls, is
 controlled by, or is under control with, another Person, including parents, subsidiaries, merged
 Persons, consolidated Persons, holding Persons, and acquired Persons, or any predecessor to such
 Person.

                 2.2.4. “Agent” means any past and present employee, officer, director, agent,
 shareholder, principal, teacher, staff, stockholder, member, partner, board member, trustee,
 administrator, priest, deacon, religious brother, religious sister, nun, clergy, Person bound by a
 monastic vow, volunteer, attorney, claim handling administrator, and representatives of a Person,
 in their capacity as such.

                 2.2.5. “Allowed” or “Allowance” means, with reference to any Claim, proof of
 which was timely and properly filed or, if no Proof of Claim was filed, which has been or hereafter
 is listed by the Debtor in the Schedules, as liquidated in amount and not disputed or contingent
 and, in each case, as to which: (A) no objection to allowance has been interposed within the
 applicable period fixed by this Plan, the Bankruptcy Code, the Bankruptcy Rules, or the
 Bankruptcy Court, or (B) an objection has been interposed and such Claim has been allowed, in
 whole or in part, by a Final Order.

                 2.2.6. “Avoidance Actions” means any and all rights to recover or avoid transfers
 or Liens under Chapter 5 of the Bankruptcy Code or otherwise, including sections 506(d), 541,
 542, 543, 544, 545, 547, 548, 549, 550, or 553 of the Bankruptcy Code, or otherwise under the
 Bankruptcy Code or under similar or related state or federal statutes and common law, including,
 all preference, fraudulent conveyance, fraudulent transfer, and/or other similar avoidance claims,
 rights, and causes of action, whether or not litigation has been commenced as of the Effective Date
 to prosecute such Avoidance Actions; subject, however, to any releases thereof provided in this
 Plan, the Confirmation Order, or any other Final Order of the Bankruptcy Court.

                   2.2.7.   “Bankruptcy Code” means title 11 of the United States Code.

                2.2.8. “Bankruptcy Court” means the United States Bankruptcy Court for the
 District of New Jersey or the District Court for the District of New Jersey, as applicable.

              2.2.9. “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure
 promulgated under 28 U.S.C. § 2075.

                   2.2.10. “Bar Date” means February 16, 2024.

               2.2.11. “Business Day” means any day except Saturday, Sunday, and any other
 day on which commercial banks in New Jersey or the United States of America are authorized by
 law to close.

                   2.2.12. “Cash” means legal tender of the United States of America and equivalents
 thereof.



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               2.2.13. “Chapter 11 Case” means the above-captioned case under Chapter 11 of
 the Bankruptcy Code.

                 2.2.14. “Claim” means (a) a claim as that term is defined in § 101(5) of the
 Bankruptcy Code; or (b) any claim, Action, assertion of right, complaint, cross-complaint,
 counterclaim, liabilities, obligations, rights, request, allegation, mediation, litigation, direct action,
 administrative proceeding, Cause of Action, Lien, encumbrances, indemnity, equitable indemnity,
 right of subrogation, equitable subrogation, defense, injunctive relief, controversy, contribution,
 exoneration, covenant, agreement, promise, act, omission, trespass, variance, damages, judgment,
 compensation, set-off, reimbursement, restitution, cost, expense, loss, exposure, execution,
 attorneys’ fee, obligation, order, affirmative defense, writ, demand, inquiry, request, directive,
 obligation, Proof of Claim in a bankruptcy proceeding or submitted to a trust established pursuant
 to the Bankruptcy Code, government claim or Action, settlement, and/or any liability whatsoever,
 whether past, present or (to the extent it arises prior to the Effective Date) future, known or
 unknown, asserted or unasserted, foreseen or unforeseen, fixed or contingent, matured or
 unmatured, liquidated or unliquidated, direct, indirect or otherwise consequential, whether in law,
 equity, admiralty, under the Bankruptcy Code, or otherwise, whether currently known or unknown,
 whether compromised, settled or reduced to a consent judgment, that may exist now or hereinafter
 for property damages, compensatory damages (such as loss of consortium, wrongful death,
 survivorship, proximate, consequential, general and special damages), punitive damages, bodily
 injury, personal injury, public and private claims, or any other right to relief whether sounding in
 tort, contract, extra-contractual or bad faith, statute, strict liability, equity, nuisance, trespass,
 statutory violation, wrongful entry or eviction or other eviction or other invasion of the right of
 private occupancy, and any amounts paid in respect of any judgment, order, decree, settlement,
 contract, or otherwise. A Person who holds a Claim is a “Claimant.”

                2.2.15. “Class” means a grouping of substantially similar Claims for common
 treatment thereof pursuant to the terms of this Plan.

                2.2.16. “Confirmation Hearing” means a hearing conducted by the Bankruptcy
 Court for the purpose of considering Confirmation.

                2.2.17. “Confirmation Order” means an Order of the Bankruptcy Court
 confirming this Plan in accordance with the provisions of chapter 11 of the Bankruptcy Code. The
 form and substance of the Confirmation Order shall be mutually acceptable to the Plan Proponent.

                2.2.18. “Confirmation” means the entry of an Order by the Bankruptcy Court
 approving this Plan in accordance with the provisions of the Bankruptcy Code.

                 2.2.19. “Creditor” means any person that has a Claim against the Debtor that arose
 on or before the Petition Date or a Claim against the Debtor’s estate of any kind specified in section
 502(g), 502(h) or 502(i) of the Bankruptcy Code. This includes all Persons holding Claims against
 the Debtor.

                   2.2.20. “Debtor” means the IQ Dental Supply, LLC.

                   2.2.21. “Disbursing Agent” has the meaning ascribed to such term in Section 8.1
 of this Plan.


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               2.2.22. “Disclosure Statement” means the Disclosure Statement filed by the
 Debtor as required pursuant to section 1125, et seq. of the Bankruptcy Code as approved by the
 Bankruptcy Court.

                2.2.23. “Effective Date” means the date on which all of the conditions to
 Confirmation and conditions to the Effective Date have been satisfied or waived in accordance
 with the requirements of Article 10 of this Plan.

                2.2.24. “Estate” means the estate of the Debtor created upon the commencement
 of the Chapter 11 Case pursuant to section 541 of the Bankruptcy Code.

                 2.2.25. “Exculpated Party” or “Exculpated Parties” means collectively, (i) the
 Debtor; (ii) professionals that were retained in the Chapter 11 Case by the Debtor; and (iii) the
 officers and directors of the Debtor that served during the Chapter 11 Case.

                 2.2.26. “Executory Contract” means any contract or unexpired lease entered into
 before the Petition Date between the Debtor and any other Person or Persons, pursuant to which
 parties to both sides of the contract or lease have remaining material duties such that the breach by
 one party would excuse the performance by the other parties thereto.

               2.2.27. “Fee Claim” means a Claim under sections 328, 330(a), 331, 363 or 503
 of the Bankruptcy Code for professional compensation.

                   2.2.28. “Final Decree” means the decree contemplated under Bankruptcy Rule
 3022.

                  2.2.29. “Final Order” means an order as to which the time to appeal, petition for
 certiorari, petition for review, or move for reargument or rehearing has expired and as to which no
 appeal, petition for certiorari, or other proceedings for reargument or rehearing shall then be
 pending and in the event that an appeal, writ of certiorari, petition for review, or reargument or
 rehearing thereof has been sought, such order shall have been affirmed by the highest Bankruptcy
 Court to which such order was appealed, or certiorari or review has been denied or from which
 reargument or rehearing was sought, and the time to take any further appeal, petition for certiorari,
 petition for review, or move for reargument or rehearing shall have expired; provided, however,
 that the possibility that a motion under Rule 59 or Rule 60 of the Federal Rules of Civil Procedure
 or any analogous rule under the Bankruptcy Rules may be filed with respect to such order shall
 not cause such order not to be a Final Order. If any appeal of the Confirmation Order becomes
 equitably moot due to Substantial Consummation, the Confirmation Order shall be considered a
 Final Order as of the date that the order determining such appeal to be moot has become a Final
 Order.

                 2.2.30. “General Unsecured Claim” means any Claim against the Debtor that
 arose or is deemed by the Bankruptcy Code or Bankruptcy Court, as applicable, to have arisen
 before the Petition Date and that is not: (i) an Administrative Expense Claim, (ii) a Priority Tax
 Claim, (iii) a Non-Tax Priority Claim, or (iv) a Secured Claim.

                   2.2.31. “Holder” means the beneficial holder of any Claim.



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               2.2.32. “Impaired” means a Claim that is impaired within the meaning of section
 1124 of the Bankruptcy Code.

                 2.2.33. “Interests” means all Claims, including any “interests” as that term is used
 in section 363 of the Bankruptcy Code, and other rights of any nature, whether at law or in equity,
 including all interests or other rights under New Jersey law or any other applicable law.

                  2.2.34. “Lien” means any mortgage, pledge, deed of trust, assessment, security
 interest, lease, lien, adverse claim, levy, charge or other encumbrance of any kind, including any
 “lien” as defined in section 101(37) of the Bankruptcy Code, or a conditional sale contract, title
 retention contract or other contract to give any of the foregoing.

                   2.2.35. “Person” means an individual or entity, a corporation, limited liability
 company, partnership, general partnership, limited partnership, limited liability partnership,
 limited liability limited partnership, proprietorship, association, joint stock company, joint venture,
 estate, trust, trustee, personal executor or personal representative, unincorporated organization or
 association, federal, international, foreign, state, or local governmental or quasi-governmental
 entity, body, or political subdivision or any agency or instrumentality thereof; and any other
 individual or entity within the definitions of (i) “person” in section 101(41) of the Bankruptcy
 Code or (ii) “entity” in section 101(15) of the Bankruptcy Code.

                  2.2.36. “Petition Date” means December 8, 2024, the date on which the Debtor
 filed its petition for relief commencing the Chapter 11 Case.

                2.2.37. “Plan Documents” means, collectively, (a) this Plan, (b) the Plan
 Supplement(s), (c) the Disclosure Statement, (d) all of the exhibits and schedules attached to any
 of the foregoing and (e) any other document or instrument necessary to implement this Plan.

                   2.2.38. “Plan Proponent” means the Debtor and Alex Chobitko.

                2.2.39. “Plan Supplement(s)” means any supplements to this Plan containing
 exhibits and schedules to this Plan, which will be filed in accordance with the terms of this Plan.

                2.2.40. “Plan” means this Plan of Reorganization, as the same may be amended,
 modified, or supplemented from time to time in accordance with the terms and provisions hereof.

                 2.2.41. “Priority Non-Tax Claim” means a Claim entitled to priority under
 sections 507(a)(2), (3), (4), (5), (6) or (7) of the Bankruptcy Code, but only to the extent it is
 entitled to priority in payment under any such subsection.

               2.2.42. “Priority Tax Claim” means any Claim entitled to priority in payment
 under section 507(a)(8) of the Bankruptcy Code, but only to the extent it is entitled to priority
 under such subsection.

               2.2.43. “Proof of Claim” means a proof of Claim filed pursuant to Bankruptcy
 Code section 501 and/or pursuant to any order of the Bankruptcy Court, together with supporting
 documents.



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                 2.2.44. “Released Party” means collectively and in each case in their capacity as
 such: (i) the Debtor and Reorganized Debtor; and (ii) except as otherwise provided for by this
 Plan, with respect to each of the foregoing Persons in clause (i), such Persons’ successors and
 assigns, Affiliates, and its and their current and former officers, directors, trustees, principals,
 shareholders and their Affiliates, and Agents, in their capacities of such.

                2.2.45. “Releasing Party” means collectively and in each case in their capacity as
 such: (i) the Debtor and the Debtor’s Estate; and (ii) with respect to each of the foregoing Persons,
 such Persons’ and the Debtor’s Affiliates successors and assigns, and its and their current and
 former Agents, and such Persons’ respective heirs, executors, estates, servants and nominees.

                2.2.46. “Reorganized Debtor” means the Debtor as it exists on and after the
 Effective Date.

               2.2.47. “Schedules” means the schedules, statements, and lists filed by the Debtor
 with the Bankruptcy Court pursuant to Bankruptcy Rule 1007, as they have been amended or
 supplemented from time to time.

                 2.2.48. “Secured Claim” means a Claim (i) that is secured by a Lien on property
 in which the Estate has an Interest, which Lien is not subject to avoidance under the Bankruptcy
 Code or otherwise invalid under the Bankruptcy Code or applicable state law, or a Claim that is
 subject to a valid right of the Creditor of setoff against amounts owed to the Debtor; to the extent
 of the value of the Holder’s Interest in the Estate’s Interest in such property or to the extent of the
 amount subject to a valid right of setoff, as applicable; and (iii) the amount of which (A) is
 undisputed by the Debtor or (B) if disputed by the Debtor, such dispute is settled by written
 agreement between the Debtor and the holder of such Claim or determined, resolved, or
 adjudicated by Final Order.

                2.2.49. “Substantial Consummation” means the substantial consummation of a
 chapter 11 plan as defined in section 1101(2) of the Bankruptcy Code.

                   2.2.50. “Tax Code” means the Internal Revenue Code of 1986, as amended.

                 2.2.51. “Treasury Regulations” has the meaning ascribed to such term in Section
 7.1. of this Plan.

                2.2.52. “U.S. Trustee Fees” means any and all fees payable to the U.S. Trustee
 pursuant to section 1930 of title 28 of the Bankruptcy Code and any interest thereupon.

                2.2.53. “U.S. Trustee” means the Office of the United States Trustee for Region
 3, which includes the District of New Jersey.

                                        ARTICLE III
                                 CLASSIFICATION OF CLAIMS

         3.1. Classification. All Claims, as defined herein and in section 101(5) of the
 Bankruptcy Code, except the Fee Claims, Administrative Expense Claims, U.S. Trustee Fees, and
 Priority Tax Claims, are placed into the Classes set forth below. Pursuant to section 1123(a)(1) of


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 the Bankruptcy Code, Fee Claims, Administrative Expense Claims, U.S. Trustee Fees, and Priority
 Tax Claims, as described below, are not classified in this Plan, and the treatment of such Claims
 is set forth in Article III below. A Claim is placed in a particular Class only to the extent that the
 Claim falls within the description of that Class and is classified in other Classes to the extent that
 any portion of such Claim falls within the description of such other Classes. A Claim is also placed
 in a particular Class for the purpose of receiving distributions pursuant to this Plan only to the
 extent that such Claim is an Allowed Claim in that Class and such Claim has not been paid,
 discharged, released or otherwise settled prior to the Effective Date.

         3.2. Unclassified Claims. The following are the unclassified Claims: Fee Claims,
 Administrative Expense Claims, U.S. Trustee Fees, and Priority Tax Claims. Unclassified Claims
 are not Impaired by this Plan. Each Holder of an unclassified Claim is conclusively presumed to
 have accepted this Plan and, therefore, is not entitled to vote to accept or reject this Plan.

         3.3. Classified Claims. As set forth in the table below, Class 1 is Unimpaired under
 this Plan, and, pursuant to section 1126(f) of the Bankruptcy Code, is conclusively presumed to
 have accepted this Plan. Classes 7A and 7B are fully Impaired and are not receiving any
 Distributions under this Plan and, pursuant to section 1126(g) of the Bankruptcy Code, are
 conclusively presumed to have rejected this Plan. Classes 2, 3, 4, 5, 6 and 8 are Impaired under
 this Plan and are entitled to vote on this Plan.

     Class                  Claims & Interest                  Status              Voting Rights

    1         Priority Non-Tax Claims                    Unimpaired             Not Entitled to Vote
                                                                                (Deemed to Accept)
    2         East West Bank                             Impaired               Entitled to Vote
    3         AmeriCredit Financial Services, Inc.       Impaired               Entitled to Vote
              dba GM Financial
    4         Subaru Motors Finance                      Impaired               Entitled to Vote
    5         General Unsecured Creditors                Impaired               Entitled to Vote


                                    ARTICLE IV
                          TREATMENT OF UNCLASSIFIED CLAIMS

         4.1. Administrative Expenses Claims. Administrative Expense Claims are Claims for
 costs or expenses of administering the Debtor’s Chapter 11 Case, which are Allowed under
 Bankruptcy Code section 503(b) or otherwise. The Bankruptcy Code requires that all
 administrative expenses be paid on the Effective Date, unless a particular Claimant agrees to
 different treatment. The Debtor or Reorganized Debtor, as appropriate, shall pay each Holder of
 an Allowed Administrative Expense Claim in full, in Cash, on the later of (i) fifteen (15) days after
 the Effective Date; or (ii) fifteen (15) days after the date on which such Claim becomes an Allowed
 Administrative Expense Claim. Notwithstanding anything in this Plan to the contrary, the Holder
 of an Allowed Administrative Claim may be paid on such other date and upon such other terms as
 may be agreed upon by the Holder of an Allowed Administrative Expense Claim and
 Debtor/Reorganized Debtor.



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         4.2. Priority Tax Claims. The Reorganized Debtor shall pay any Allowed Priority Tax
 Claims, in full, in Cash, without interest, as soon as practicable after the later of (i) fifteen (15)
 days after the Effective Date, (ii) fifteen (15) days after the date on which such Claim becomes an
 Allowed Priority Tax Claim, (iii) at the option of the Debtor prior to the Effective Date in
 accordance with section 1129(a)(9)(C) of the Bankruptcy Code, in Cash, in an aggregate amount
 of such Allowed Priority Tax Claim payable in regular quarterly installments over a period of not
 more than five (5) years from the Petition Date, or (iv) such other treatment agreed to by the Debtor
 and the Holder of such Allowed Priority Tax Claim; provided, however, that the Holder of an
 Allowed Priority Tax Claim will not be entitled to receive any payment on account of any penalty
 arising with respect to, or in connection with any Priority Tax Claim. Any demand for any such
 penalty will be deemed disallowed by Confirmation of this Plan. The Debtor is unaware of any
 Priority Tax Claims.

         4.3. U.S. Trustee Fees. All U.S. Trustee Fees due and payable prior to the Effective
 Date shall be paid by the Debtor on the Effective Date. After the Effective Date, the Reorganized
 Debtor shall pay any and all U.S. Trustee when due and payable. The Debtor shall file all monthly
 operating reports due prior to the Effective Date when they become due, using UST Form 11-
 MOR. After the Effective Date, the Reorganized Debtor shall File with the Bankruptcy Court
 quarterly reports when they become due using UST Form 11-PCR. The Debtor and the
 Reorganized Debtor shall remain obligated to pay U.S. Trustee Fees to the United States Trustee
 until the earliest of the Chapter 11 Case being closed, dismissed, or converted to a case under
 Chapter 7 of the Bankruptcy Code. The United States Trustee shall not be required to File any
 Administrative Expense Claim in the Chapter 11 Case and shall not be treated as providing any
 release under this Plan.

          4.4. Fee Claims. All Persons seeking an award by the Bankruptcy Court of Fee Claims
 (i) shall file their respective final applications for allowance of compensation for services rendered
 and reimbursement of expenses incurred by the date that is 45 days after the Effective Date and
 (ii) shall be paid in full in such amounts as are Allowed by the Bankruptcy Court (a) on the date
 upon which the Order relating to any such Allowed Fee Claim is entered, or (b) upon such other
 terms as may be mutually agreed upon between the holder of such an Allowed Fee Claim and the
 Debtor or Reorganized Debtor, as applicable. The Reorganized Debtor is authorized to pay
 compensation for services rendered or reimbursement of expenses incurred after Confirmation in
 the ordinary course and without the need for Bankruptcy Court approval.

                                    ARTICLE V
                           TREATMENT OF CLASSIFIED CLAIMS

         5.1. Class 1 (Priority Non-Tax Claims). Certain priority non-tax Claims that are
 referred to in Bankruptcy Code sections 507(a)(3), (4), (5), (6), and (7) are entitled to priority
 treatment. These Claims are to be treated as follows:

                   (a)   Classification. Class 1 consists of Priority Non-Tax Claims.

                   (b)   Impairment and Voting. Class 1 is Unimpaired. Holders of Allowed
                         Class 1 Priority Non-Tax Claims are deemed to have accepted this Plan and,
                         thus, are not entitled to vote to accept or reject this Plan.


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                   (c)   Treatment. Except to the extent that a Holder of an Allowed Priority Non-
                         Tax Claim and the Debtor shall have agreed in writing to a different
                         treatment, each Holder of an Allowed Priority Non-Tax Claim shall receive,
                         in full and final satisfaction of such Claim, payment in full in Cash, without
                         interest, in an amount equal to such Allowed Priority Non-Tax Claim as
                         soon as reasonably practicable after the later of (a) the Effective Date and
                         (b) the date when such Priority Non-Tax Claim becomes an Allowed
                         Priority Non-Tax Claim.

          5.2.     Class 2 (East West Bank Claim).

                   (a)   Classification. East West Bank holds a Secured Claim against the Debtor.
                         East West Bank shall have an Allowed Secured Claim in the amount of
                         $3,351,651.70.

                   (b)   Impairment and Voting. Class 2 is Impaired and the Holder of the Class
                         2 Claim is entitled to vote to accept or reject the Plan.

                   (c)   Treatment. The Debtor shall satisfy this Claim by payment of the Allowed
                         Claim in equal installments over 15 years with interest at 7.5%.

          5.3.     Class 3 (AmeriCredit Financial Services, Inc. dba GM Financial Claim).

                   (a)   Classification. AmeriCredit Financial Services, Inc. dba GM Financial
                         (“GM”) holds a Secured Claim against the Debtor. GM shall have an
                         Allowed Secured Claim in the amount of $8,298.86.

                   (b)   Impairment and Voting. Class 3 is Impaired, and each holder of a Class
                         3 Claim is entitled to vote to accept or reject the Plan.

                   (c)   Treatment. The Debtor shall satisfy this Claim by payment of the Allowed
                         Claim in equal installments over 15 years with interest at 0%.

          5.4.     Class 4 (Subaru Motors Finance Claim).

                   (a)   Classification. Subaru Motors Finance (“SMF”) holds a Secured Claim
                         against the Debtor. SMF shall have an Allowed Secured Claim in the
                         amount of $24,081.14.

                   (b)   Impairment and Voting. Class 4 is Impaired, and each holder of a Class
                         4 Claim is entitled to vote to accept or reject the Plan.

                   (c)   Treatment. The Debtor shall satisfy this Claim by payment of the Allowed
                         Claim in equal installments over 15 years with interest at 4.49%

          5.5.     Class 5 (General Unsecured Claims).

                   (a)   Classification. A Class 5 Claim means a General Unsecured Claim.


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                   (b)    Impairment and Voting. Class 5 is Impaired and each holder of a Class 5
                          Claim is entitled to vote to accept or reject this Plan.

                   (c)    Treatment. Allowed Class 3 Claims shall be paid a pro rata portion of
                          $1,500,000. The $1,500,000 will be paid on a pro rata basis over 5 years
                          on a quarterly basis (20 quarters).

          5.6.     Interests.

         All equity interests in the Debtor will be extinguished on the Effective Date and equity
 interest in the Reorganized Debtor or the assets of the Debtor shall be issued or sold (as applicable)
 on the Effective Date to Alex Chobitko (or a company owned or controlled by him) upon payment
 of $150,000 in new value.

                                            ARTICLE VI
                                           ACCEPTANCE

         6.1. Acceptance or Rejection of Plan. Each impaired class of Creditors with Claims
 against the Debtor’s Estate shall be entitled to vote separately to accept or reject this Plan. A Class
 of Creditors shall have accepted this Plan if this Plan is accepted by at least two-thirds in the
 aggregate dollar amount, and more than one-half in number of holders, of the allowed Claims of
 such class that have accepted or rejected this Plan.

        6.2. Cramdown. To the extent necessary, the Plan Proponent shall request
 Confirmation of this Plan under section 1129(b) of the Bankruptcy Code. The Plan Proponent
 reserves the right to modify, amend, or withdraw this Plan to the extent, if any, that Confirmation
 pursuant to section 1129(b) of the Bankruptcy Code requires modification.

         6.3. Modification of Treatment of Claims. The Debtor reserves the right to modify
 the treatment of any Allowed Claim (other than a Class 5 or Class 6 Claim) in any manner adverse
 only to the Holder of such Claim at any time after the Effective Date upon the consent of the
 Holder of the Claim whose Allowed Claim is being adversely affected, or as allowed by
 Bankruptcy Court Order, through the Effective Date.

                                        ARTICLE VII
                                 EFFECT OF PLAN ON CLAIMS

          7.1.     General Injunction.

      EXCEPT AS OTHERWISE PROVIDED IN THE PLAN, THE CONFIRMATION
 ORDER WILL PROVIDE THAT ALL PERSONS AND ENTITIES WHO HELD, HOLD,
 OR MAY HOLD CLAIMS AGAINST THE DEBTOR ARE PERMANENTLY ENJOINED,
 ON AND AFTER CONFIRMATION, FROM (A) COMMENCING OR CONTINUING IN
 ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND WITH
 RESPECT TO ANY SUCH CLAIM OR TAKING ANY ACT TO RECOVER SUCH
 CLAIM OUTSIDE OF THE TRUST DISTRIBUTION PROCEDURES DISCUSSED IN
 THE PLAN AND THE BANKRUPTCY CODE AND BANKRUPTCY RULES, (B) THE
 ENFORCEMENT, ATTACHMENT, COLLECTION OR RECOVERY BY ANY


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 MANNER OR MEANS OF ANY JUDGMENT, AWARD, DECREE OR ORDER AGAINST
 THE DEBTOR ON ACCOUNT OF ANY SUCH CLAIM, (C) CREATING, PERFECTING
 OR ENFORCING ANY ENCUMBRANCE OF ANY KIND AGAINST THE DEBTOR OR
 AGAINST THE PROPERTY OR INTERESTS IN PROPERTY OF THE DEBTOR ON
 ACCOUNT OF ANY SUCH CLAIM AND (D) ASSERTING ANY RIGHT OF SETOFF,
 SUBROGATION OR RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION
 DUE FROM THE DEBTOR OR AGAINST THE PROPERTY OR INTERESTS IN
 PROPERTY OF THE DEBTOR ON ACCOUNT OF ANY SUCH CLAIM.

          7.2.     Release by Debtor.

       EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR THE
 CONFIRMATION ORDER, AND TO THE FULLEST EXTENT AUTHORIZED BY
 APPLICABLE LAW, FOR GOOD AND VALUABLE CONSIDERATION, THE
 ADEQUACY OF WHICH IS HEREBY CONFIRMED, THE RELEASED PARTIES ARE
 DEEMED RELEASED AND DISCHARGED BY THE DEBTOR, ITS ESTATE AND ANY
 PERSON SEEKING TO EXERCISE THE RIGHTS OF THE DEBTOR OR ITS ESTATE
 AND ITS PROPERTY (AND EACH SUCH RELEASED PARTY SHALL BE DEEMED
 RELEASED BY THE DEBTOR AND ITS ESTATE AND ITS RESPECTIVE PROPERTY)
 FROM ANY AND ALL CLAIMS RELATING TO THE DEBTOR, ITS ESTATE OR ITS
 AFFILIATES, THE CONDUCT OF THE DEBTOR’S BUSINESS, THE FORMULATION,
 PREPARATION, SOLICITATION, DISSEMINATION, NEGOTIATION, OR FILING OF
 THE DISCLOSURE STATEMENT OR PLAN OR ANY CONTRACT, INSTRUMENT,
 RELEASE, OR OTHER AGREEMENT OR DOCUMENT CREATED OR ENTERED
 INTO IN CONNECTION WITH OR PURSUANT TO THE DISCLOSURE STATEMENT,
 THE PLAN, THE FILING AND PROSECUTION OF THE CHAPTER 11 CASE, THE
 PURSUIT OF CONSUMMATION OF THE PLAN, THE SUBJECT MATTER OF, OR
 THE TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR INTEREST
 THAT IS TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL
 ARRANGEMENTS BETWEEN THE DEBTOR, ITS ESTATE OR ITS AFFILIATES, ON
 THE ONE HAND, AND ANY RELEASED PARTY, ON THE OTHER HAND, OR ANY
 OTHER ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER
 OCCURRENCE TAKING PLACE BEFORE THE EFFECTIVE DATE; PROVIDED
 THAT, TO THE EXTENT THAT A CLAIM IS DETERMINED BY A FINAL ORDER TO
 HAVE RESULTED FROM FRAUD, GROSS NEGLIGENCE, OR WILLFUL
 MISCONDUCT OF A RELEASED PARTY, SUCH CLAIM SHALL NOT BE SO
 RELEASED AGAINST SUCH RELEASED PARTY; PROVIDED FURTHER THAT, THE
 FOREGOING “DEBTOR RELEASE” SHALL NOT OPERATE TO WAIVE OR
 RELEASE ANY CLAIMS OF THE DEBTOR OR ITS CHAPTER 11 ESTATE AGAINST
 A RELEASED PARTY (OR OF A RELEASED PARTY AGAINST THE DEBTOR AND
 ITS CHAPTER 11 ESTATE) ARISING UNDER ANY CONTRACTUAL OBLIGATION
 OWED TO THE DEBTOR THAT IS ENTERED INTO OR ASSUMED PURSUANT TO
 THE PLAN.




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          7.3.     Release by Holders of Claims.

      EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR THE
 CONFIRMATION ORDER, AND TO THE FULLEST EXTENT AUTHORIZED BY
 APPLICABLE LAW, THE RELEASING PARTIES SHALL BE DEEMED TO PROVIDE
 A FULL RELEASE TO THE RELEASED PARTIES AND THEIR RESPECTIVE
 PROPERTY FROM ANY AND ALL CLAIMS RELATING TO THE DEBTOR, ITS
 ESTATE OR ITS AFFILIATES, THE CONDUCT OF THE DEBTOR’S BUSINESS, THE
 FORMULATION,      PREPARATION,     SOLICITATION,    DISSEMINATION,
 NEGOTIATION, OR FILING OF THE DISCLOSURE STATEMENT OR PLAN OR ANY
 CONTRACT, INSTRUMENT, RELEASE, OR OTHER AGREEMENT OR DOCUMENT
 CREATED OR ENTERED INTO IN CONNECTION WITH OR PURSUANT TO THE
 DISCLOSURE STATEMENT, THE PLAN, THE FILING AND PROSECUTION OF THE
 CHAPTER 11 CASE, THE PURSUIT OF CONSUMMATION OF THE PLAN, THE
 SUBJECT MATTER OF, OR THE TRANSACTIONS OR EVENTS GIVING RISE TO,
 ANY CLAIM OR INTEREST THAT IS TREATED IN THE PLAN, THE BUSINESS OR
 CONTRACTUAL ARRANGEMENTS AMONG THE RELEASING PARTIES AND ANY
 RELEASED PARTY, OR ANY OTHER ACT OR OMISSION, TRANSACTION,
 AGREEMENT, EVENT, OR OTHER OCCURRENCE TAKING PLACE BEFORE THE
 EFFECTIVE DATE; PROVIDED THAT, TO THE EXTENT THAT A CLAIM IS
 DETERMINED BY A FINAL ORDER TO HAVE RESULTED FROM FRAUD, GROSS
 NEGLIGENCE, OR WILLFUL MISCONDUCT OF A RELEASED PARTY, SUCH
 CLAIM SHALL NOT BE SO RELEASED AGAINST SUCH RELEASED PARTY.

          7.4.     Exculpation; Limitation of Liability.

       FROM AND AFTER THE EFFECTIVE DATE, NONE OF THE EXCULPATED
 PARTIES SHALL HAVE OR INCUR ANY LIABILITY FOR, AND EACH
 EXCULPATED PARTY SHALL BE RELEASED FROM, ANY CLAIM TO ANY OTHER
 EXCULPATED PARTY, TO ANY HOLDER OF A CLAIM, OR TO ANY OTHER PARTY
 IN INTEREST, FOR ANY ACT OR OMISSION THAT OCCURRED DURING AND IN
 CONNECTION WITH THIS CHAPTER 11 CASE OR IN CONNECTION WITH THE
 PREPARATION AND FILING OF THIS CHAPTER 11 CASE, THE FORMULATION,
 NEGOTIATION, OR PURSUIT OF CONFIRMATION OF A PLAN, THE
 CONSUMMATION OF THE PLAN, AND THE ADMINISTRATION OF THE PLAN OR
 THE PROPERTY TO BE DISTRIBUTED UNDER THE PLAN, EXCEPT FOR CLAIMS
 ARISING FROM THE GROSS NEGLIGENCE, WILLFUL MISCONDUCT, FRAUD, OR
 BREACH OF THE FIDUCIARY DUTY OF LOYALTY OF ANY EXCULPATED PARTY,
 IN EACH CASE SUBJECT TO DETERMINATION OF SUCH BY FINAL ORDER OF A
 BANKRUPTCY COURT OF COMPETENT JURISDICTION AND PROVIDED THAT
 ANY EXCULPATED PARTY SHALL BE ENTITLED TO REASONABLY RELY UPON
 THE ADVICE OF COUNSEL WITH RESPECT TO ITS DUTIES AND
 RESPONSIBILITIES (IF ANY) UNDER THE PLAN. WITHOUT LIMITING THE
 GENERALITY OF THE FOREGOING, THE DEBTOR AND ITS RESPECTIVE
 OFFICERS, BOARD AND RESPECTIVE EMPLOYEES, ATTORNEYS, FINANCIAL
 ADVISORS, AND OTHER PROFESSIONALS SHALL BE ENTITLED TO AND



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 GRANTED BENEFITS OF SECTION 1125(E) OF THE BANKRUPTCY CODE AND THE
 CHANNELING INJUNCTION.

        7.5. Vesting of Assets in Reorganized Debtor. Except as otherwise provided in the
 Plan Documents or the Trust Documents Plan, on the Effective Date, all property in the Estate, all
 Causes of Action, and any property acquired by the Debtor pursuant to this Plan shall vest in the
 Reorganized Debtor, free and clear of all Liens, Claims, charges or other encumbrances (except
 for Liens expressly preserved and continued under this Plan). On and after the Effective Date,
 except as otherwise provided in this Plan, the Reorganized Debtor may operate its businesses and
 may use, acquire or dispose of property and compromise or settle any Claims or Causes of Action
 without supervision or approval by the Bankruptcy Court and free of any restrictions of the
 Bankruptcy Code or Bankruptcy Rules. Without limiting any of the foregoing, the Reorganized
 Debtor may pay the charges incurred on or after the Effective Date for Professionals’ fees,
 disbursements, expenses, or related support services without application to the Bankruptcy Court.

         7.6. Causes of Action. Except as set forth otherwise herein, the Reorganized Debtor,
 on behalf of and for the benefit of the Debtor’s estate, shall be vested with and shall retain and
 may enforce any and all Claims of any kind or nature whatsoever held by, through or on behalf of
 the Debtor and/or its Estate against any other Person, arising before the Effective Date that have
 not been fully resolved or disposed of prior to the Effective Date whether or not such Claims and
 Interests are specifically identified in the Disclosure Statement accompanying this Plan and
 whether or not litigation with respect to same has been commenced prior to the Effective Date.

                                   ARTICLE VIII
                   PROVISIONS GOVERNING DISTRIBUTIONS GENERALLY

        The following provisions of this Plan shall not apply to the distributions to be made to
 Class 5 and Class 6 Claims under the Trust.

        8.1. Disbursing Agent. The Reorganized Debtor shall be the “Disbursing Agent” for
 all payments to be made under the Plan.

        8.2. Manner of Payment. Any payment of Cash under this Plan may be made either
 by check drawn or by wire transfer from a domestic bank, at the option of the Disbursing Agent.

         8.3. Payments and Distributions on Disputed Claims. As and when authorized by a
 Final Order, Disputed Claims that become Allowed Claims shall be paid from the Disputed Claim
 Reserve established under Section 8.4 of this Plan. No distribution shall be made on a Claim where
 only a portion of such Claim is disputed until such dispute is resolved by settlement or Final Order.

         8.4. Disputed Claim Reserve. To the extent that the Disbursing Agent makes a
 distribution hereunder to a Class prior to the resolution of all Disputed Claims of such Class, the
 Disbursing Agent shall reserve an amount for any Disputed Claims in such Class equal to the
 amount that such Holders of Disputed Claims in such Class would be entitled to receive under this
 Plan if such Disputed Claims were Allowed in the asserted amount of the Claim.

        8.5. Transmittal of Distributions to Parties Entitled Thereto. All distributions by
 check shall be deemed made at the time such check is deposited in the United States mail, postage


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 prepaid. Any distributions by wire transfer shall be deemed made as of the date of the wire transfer
 is made. Except as otherwise agreed with the Holder of an Allowed Claim in respect thereof or
 provided in this Plan, any distribution required under this Plan on account of an Allowed Claim,
 shall be mailed to (i) the latest mailing address filed for the Holder of an Allowed Claim entitled
 to a distribution, (ii) the latest mailing address filed for a Holder of a filed power of attorney
 designated by the Holder of such Claim to receive distributions, (iii) the latest mailing address
 filed for the Holder’s transferee as identified in a filed notice served on the Debtor pursuant to
 Bankruptcy Rule 3001(e), or (iv) if no such mailing address has been filed, the mailing address
 reflected on the Schedules or in the Debtor’s books and records. The Holder of a Claim shall be
 required to promptly notify the Reorganized Debtor and the Bankruptcy Court of any change in its
 mailing address.

        8.6. Distribution of Unclaimed Property. Except as otherwise provided in this Plan,
 any distribution under this Plan which is unclaimed after three (3) months following any
 Distribution Date shall be forfeited, and such distribution, together with any interest earned
 thereon, and shall return to and revest in the Reorganized Debtor.

        8.7. Saturday, Sunday or Legal Holiday. If any payment or act under this Plan is
 required to be made or performed on a date that is not a Business Day, then the making of such
 payment or the performance of such act may be completed on the following Business Day but shall
 be deemed to have been completed as of the required date.

         8.8. Setoffs and Recoupment. Subject to the terms of this Plan and pursuant to section
 553 of the Bankruptcy Code or applicable law, the Debtor or Reorganized Debtor, as appropriate,
 may but shall not be required to, setoff against or recoup from any Claim on which payments are
 to be made pursuant to this Plan, any Claims of any nature whatsoever the Debtor may have against
 the Holder of such Claim.

         8.9. Fractional Cents and De Minimis Distributions. Notwithstanding any other
 provisions of the Plan to the contrary, no payment of fractional cents will be made under the Plan.
 Cash will be issued to Holders entitled to receive a distribution of Cash in whole cents (rounded
 to the nearest whole cent when and as necessary). Any distribution of less than $10.00 will be
 considered de minimis, and Holders of Allowed Claims that are entitled to an interim or final
 distribution of less than $10.00 will not receive any distribution. Such funds will remain with and
 revest in the Reorganized Debtor.

        8.10. Prepayment. Except as otherwise provided herein or the Confirmation Order, the
 Disbursing Agent shall have the right to prepay, without penalty, all or any portion of an Allowed
 Claim.

          8.11. Allowance and Disallowance of Claims.

                   (a)   Allowance of Claims. Except as expressly provided in the Plan, no Claims
                         shall be deemed Allowed by virtue of the Plan or the Confirmation Order
                         unless and until such Claim is deemed Allowed under the Bankruptcy Code,
                         or the Bankruptcy Court enters a Final Order in the Chapter 11 Case
                         allowing such Claim. Notwithstanding the foregoing, any Claim included



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                         in the Debtor’s Schedules that is not listed as contingent, unliquidated,
                         and/or disputed shall be an Allowed Claim. Any Proof of Claim Filed in an
                         unliquidated amount shall be deemed Allowed in the amount listed in the
                         Debtor’s Schedules as liquidated, not contingent and not disputed. The
                         Allowance and disallowance of Claims shall be in all respects subject to the
                         provisions of section 502 of the Bankruptcy Code.

                   (b)   Disallowance of Claims. Except as expressly provided in the Plan, all
                         Claims held by Persons against whom the Debtor or Reorganized Debtor,
                         as appropriate, have filed or commenced or may in the future file or
                         commence a Claim under sections 542, 543, 544, 547, 548, 549, 550, 551,
                         553 or 724(a) of the Bankruptcy Code shall be deemed disallowed pursuant
                         to section 502(d) of the Bankruptcy Code. The Holders of any and all
                         Claims filed with the Bankruptcy Court after the Bar Date shall be deemed
                         disallowed without further action by the Debtor or Reorganized Debtor and
                         without any further notice to or action, order, or approval of the Bankruptcy
                         Court. The Holders of any and all Claims Filed with the Bankruptcy Court
                         after the relevant Bar Date shall not be entitled to a distribution, unless
                         otherwise allowed by Final Order of the Bankruptcy Court.

          8.12. Resolution of Disputed Administrative Expense Claims and Disputed Claims.

                   (a)   Prosecution of Objections to Claims. Except as otherwise set forth herein,
                         prior to the Effective Date, the Debtor shall have standing and the right to
                         commence and pursue objections to Claims, and the Reorganized Debtor
                         shall have such standing after the Effective Date. All objections to Claims
                         shall be Filed with the Bankruptcy Court and served upon the Holders of
                         each of the Claims to which objections are made. The Debtor reserves the
                         right to seek an extension of such date in accordance with D.N.J. LBR 3007-
                         1(c).

                   (b)   Objections to Claims. An objection to the allowance of a Claim shall be
                         in writing and shall be Filed with the Bankruptcy Court by the Debtor or
                         Reorganized Debtor, as applicable. Except as expressly set forth herein,
                         nothing herein, in the Confirmation Order or in any Order in aid of
                         Confirmation, shall constitute, or be deemed to constitute, a waiver or
                         release of any Claim, including any Avoidance Action, right of setoff or
                         recoupment or other legal or equitable defense which the Debtor had
                         immediately prior to the commencement of the Chapter 11 Case against or
                         with respect to any Claim. Except as set forth herein, upon Confirmation,
                         the Debtor or Reorganized Debtor shall have, retain, reserve and be entitled
                         to assert all such Claims, rights of setoff and recoupment and other legal or
                         equitable defenses that the Debtor had immediately prior to the
                         commencement of the Chapter 11 Case against or with respect to any Claim.




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                             ARTICLE IX
        TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         9.1. Executory Contracts and Unexpired Leases. On the Effective Date, all
 Executory Contracts and unexpired leases not rejected on or before Confirmation will be deemed
 assumed. The Confirmation Order shall constitute an order approving such assumption as of the
 Effective Date. No cure payments or adequate assurance of future performance shall be due.

         9.2. Bar to Rejection Damages. All Proofs of Claim for Claims arising from a
 rejection of an Executory Contract or unexpired leases must be filed with the Bankruptcy Court
 within the earlier of (i) the date set forth for filing claims in any order of the Bankruptcy Court
 approving such rejection; (ii) the date set forth in D.N.J. LBR 3003-1(b) or (ii) thirty (30) days
 after Confirmation. Any Proofs of Claim that are not filed timely shall be barred forever from
 assertion.

                                    ARTICLE X
                    CONFIRMATION AND CONSUMMATION OF THIS PLAN

          10.1. Conditions Precedent to the Effective Date.

         The Effective Date shall not occur, and this Plan shall not be consummated, unless and
 until each of the following conditions have been satisfied:

                   (a)   the Bankruptcy Court shall have entered the Confirmation Order in form
                         and substance satisfactory to the Debtor;

                   (b)   the Confirmation Order shall be a Final Order and no stay of the
                         Confirmation Order shall then be in effect;

                   (c)   the Plan has not been materially amended, altered, or modified as confirmed
                         by the Confirmation Order, unless such material amendment, alteration, or
                         modification has been made with consent of the Debtor.

          10.2. Notice of Effective Date.

         The Debtor shall file and serve on all Holders of Claims a Notice of Effective Date with
 the Bankruptcy Court within three (3) days after the occurrence of the Effective Date. Such notice
 will include all relevant deadlines put into effect by the occurrence of the Effective Date.

          10.3. Waiver of Conditions Precedent to the Effective Date.

        Each of the conditions precedent to the occurrence of the Effective Date set forth in Section
 14 may only be waived in whole or in part by the Plan Proponent without notice to or leave or
 order of the Bankruptcy Court or any formal action other than proceedings to confirm or
 consummate the Plan.




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                                        ARTICLE XI
                                 EFFECTS OF CONFIRMATION

        11.1. Authority to Effectuate Plan. Upon the Effective Date, all matters provided under
 the Plan shall be deemed to be authorized and approved without the requirement of further
 approval from the Bankruptcy Court or the Plan Proponent. The Plan Proponent shall be
 authorized, without further application to or order of the Bankruptcy Court, to take whatever action
 necessary to achieve consummation and carry out the Plan and to effectuate the transactions
 provided for thereunder.

         11.2. Binding Effect. Except as otherwise expressly provided in the Plan, on and after
 the Effective Date, the Plan shall bind all Holders of Claims. Subject to the terms of the Plan,
 upon the Effective Date, every Holder of a Claim shall be precluded and permanently enjoined
 from asserting against the Debtor and/or Reorganized Debtor any Claim based on any document,
 instrument, judgment, award, order, act, omission, transaction or other activity of any kind or
 nature that occurred before the Petition Date.

          11.3. Discharge and Release.

                   (a)   Except as provided in the Plan or the Confirmation Order, upon the
                         Effective Date, the Debtor shall be deemed discharged and released under
                         section 1141(d)(1)(A) of the Bankruptcy Code from any and all Claims,
                         including, but not limited to, demands and liabilities that arose before the
                         Effective Date, and all debts of the kind specified in section 502 of the
                         Bankruptcy Code, whether or not (i) a Proof of Claim based upon such debt
                         is filed or deemed filed under section 501 of the Bankruptcy Code, (ii) a
                         Claim based upon such debt is Allowed under section 502 of the Bankruptcy
                         Code, (iii) a Claim based upon such debt is or has been disallowed by order
                         of the Bankruptcy Court, or (iv) the Holder of a Claim based upon such debt
                         accepted the Plan.

                   (b)   Except as provided in the Plan or the Confirmation Order, upon the
                         Effective Date, all Persons shall be precluded from asserting against the
                         Debtor, the Reorganized Debtor and their respective members,
                         shareholders, officers, directors, partners, attorneys or advisors, any other
                         or further Claims relating to the Debtor based upon any act, omission,
                         transaction, occurrence, or other activity of any nature that occurred prior
                         to the Effective Date. In accordance with the foregoing, except as provided
                         in the Plan, the Trust Distribution Plan or the Confirmation Order, the
                         Confirmation Order shall be a judicial determination of discharge of all
                         Claims against the Debtor, pursuant to sections 524 and 1141 of the
                         Bankruptcy Code, and such discharge shall void any judgment obtained
                         against the Debtor at any time, to the extent that such judgment relates to a
                         discharged Claim.




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        11.4. Release and Discharge of Committee. Effective on the Effective Date, any
 committee of creditors appointed by the Office of the United States Trustee, if any, shall be
 disbanded and it and its professionals released from their duties and obligations.

                                       ARTICLE XII
                                RETENTION OF JURISDICTION

         Until such time as a Final Decree is entered by the Bankruptcy Court, the Bankruptcy Court
 shall retain jurisdiction of this Chapter 11 Case pursuant to the provisions of chapter 11 of the
 Bankruptcy Code to make such orders as are necessary or appropriate to carry out the provisions
 of the Plan, and with respect to the following matters:

                   (a)   To enable the Plan Proponent to consummate the Plan and to resolve any
                         disputes arising therefrom;

                   (b)   To adjudicate all controversies concerning the classification, estimation or
                         allowance of any Claim herein;

                   (c)   To determine the classification, estimation and priority of all claims against
                         the Debtor and to re-examine any Claims which may have been allowed;

                   (d)   To determine applications for the rejection or assumption of Executory
                         Contracts or unexpired leases pursuant to the provisions of the Plan which
                         are not determined prior to Confirmation and to determine allowance of
                         Claims for damages with respect to rejection of any such Executory
                         Contracts or unexpired leases within such time as the Bankruptcy Court may
                         direct;

                   (e)   To oversee and issue further appropriate orders respecting disbursement of
                         amounts deposited as may be required by the Plan;

                   (f)   To conduct hearings on valuation, as necessary, and to determine whether
                         any party in interest is entitled to recover against any Person any Claim,
                         whether arising under section 506(c) of the Bankruptcy Code, or arising out
                         of a voidable preference, a fraudulent transfer, or otherwise;

                   (g)   To hear and determine all applications for compensation and other
                         Administrative Expense Claims;

                   (h)   To hear and determine any and all pending adversary proceedings or
                         contested matters and all claims or causes of action related thereto or arising
                         therefrom, whether or not presently asserted in the operative complaint
                         therein;

                   (i)   To hear and determine any and all Claims and causes of action that belong
                         to the Debtor or its Estate on or prior to the Effective Date, including but
                         not limited to, such Claims and causes of action that vest in the Trust on the



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                         Effective Date pursuant to the Plan, whether or not asserted prior to the
                         occurrence of the Effective Date;

                   (j)   To determine all causes of action which may exist in favor of the Debtor or
                         the Trust;

                   (k)   To determine any modification of the Plan after confirmation pursuant to
                         section 1127 of the Bankruptcy Code;

                   (l)   To enter any order, including injunctions, necessary to establish and enforce
                         the rights and powers of the Debtor, or the Trust, under the Plan;

                   (m)   To enter the Final Decree pursuant to Rule 3022 of the Bankruptcy Rules;

                   (n)   To hear and determine all controversies, suits and disputes, if any, as may
                         arise in connection with the interpretation or enforcement of the Plan;

                   (o)   To hear and determine all controversies, suits and disputes, if any, as may
                         arise with regard to orders of the Bankruptcy Court in the Chapter 11 Case
                         entered on or before Confirmation;

                   (p)   To hear and determine any and all objections to payments to be made under
                         the Plan;

                   (q)   To liquidate damages in connection with any disputed, contingent or
                         unliquidated Claims;

                   (r)   To adjudicate all Claims to a security or ownership interest in any property
                         of the Debtor or in any proceeds thereof;

                   (s)   To adjudicate all causes of action to recover all assets and properties of the
                         Debtor or the Trust wherever located;

                   (t)   To enter any order, including injunctions, necessary to enforce the title,
                         rights and powers of the Debtor and the Trust, and to impose such
                         limitations, restrictions, terms and conditions on such title rights and powers
                         as the Bankruptcy Court may deem necessary or appropriate;

                   (u)   Over matters related to the assets of the Estate or of the Trust, including the
                         terms of the Trust, or the recovery, liquidation, or abandonment of Trust
                         Assets;

                   (v)   Over conflicts and disputes among the Trust, the Reorganized Debtor and
                         holders of Claims; and

                   (w)   To make such orders as are necessary or appropriate to carry out the
                         provisions of the Plan, including but not limited to orders interpreting, or
                         enforcing the provisions thereof.


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         In addition, the Bankruptcy Court shall retain jurisdiction to implement the provisions of
 the Plan in the manner as provided under section 1142, sub-paragraphs (a) and (b) of the
 Bankruptcy Code. If the Bankruptcy Court abstains from exercising, or declines to exercise
 jurisdiction, or is otherwise without jurisdiction over any matter set forth in this Section, or if the
 Plan Proponent, or its successors, elects to bring an action or proceeding in any other forum, then
 this Section shall have no effect upon and shall not control, prohibit or limit the exercise of
 jurisdiction by any other court, public authority or commission having competent jurisdiction over
 such matters.

                                       ARTICLE XIII
                                MISCELLANEOUS PROVISIONS

         13.1. Amendment or Modification of this Plan. On or before the Effective Date, the
 Plan or any exhibits hereto may be amended, modified, or supplemented by the Plan Proponent in
 the manner provided for by section 1127 of the Bankruptcy Code or as otherwise permitted by law
 without additional disclosure pursuant to section 1125 of the Bankruptcy Code. In addition, after
 Confirmation, the Reorganized Debtor or Trust Administrator, as applicable, may institute
 proceedings in the Bankruptcy Court to remedy any defect or omission or reconcile any
 inconsistencies in the Plan or the Confirmation Order with respect to such matters as may be
 necessary to carry out the purposes and effects of the Plan. The Plan Proponent may make
 appropriate technical adjustments and modifications to the Plan prior to the Effective Date without
 further order or approval of the Bankruptcy Court.

        13.2. Revocation or Withdrawal of this Plan. The Plan Proponent reserves the right to
 revoke or withdraw the Plan before Confirmation. If the Plan Proponent revokes or withdraws the
 Plan before Confirmation, then the Plan shall be deemed null and void. In such event, nothing
 contained herein shall constitute or be deemed a waiver or release of any Claims by or against the
 Debtor or to prejudice in any manner the rights of the Plan Proponent in any further proceedings.

        13.3. Final Decree. The Reorganized Debtor shall be responsible to request that a Final
 Decree be entered in this Chapter 11 Case.

         13.4. Severability of Plan Provisions. If, prior to Confirmation, any term or provision
 of the Plan is held by the Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy
 Court, at the request of the Plan Proponent, shall have the power to alter and interpret such term
 or provision to make it valid or enforceable to the maximum extent practicable, consistent with the
 original purpose of the term or provision held to be invalid, void or unenforceable, and such term
 or provision shall then be applicable as altered or interpreted. Notwithstanding any such holding,
 alteration or interpretation, the remainder of the terms and provisions of the Plan shall remain in
 full force and effect and shall in no way be affected, impaired or invalidated by such holding,
 alteration or interpretation. The Confirmation Order shall constitute a judicial determination and
 shall provide that each term and provision of the Plan, as it may be altered or interpreted in
 accordance with the foregoing, is valid and enforceable pursuant to its terms.

        13.5. No Interest. Except as expressly stated in this Plan, no interest, penalty or late
 charge is allowed or shall be paid on any Claim.




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        13.6. Allocation of Distributions Between Principal and Interest. To the extent that
 any Allowed Claim entitled to a Distribution under the Plan comprises indebtedness and accrued
 but unpaid interest thereon, such Distribution shall be allocated to the principal amount of the
 Claim first and then, to the extent the consideration exceeds the principal amount of the Claim, to
 accrued but unpaid prepetition interest.

         13.7. Notices. Any notices or requests by parties in interest under or in connection with
 this Plan shall be in writing and served either by: (i) certified mail, return receipt requested,
 postage prepaid, (ii) hand delivery, or (iii) reputable overnight delivery service, all charges prepaid,
 and shall be deemed to have been given when received by the following parties:

  IF TO THE DEBTOR:

  TRENK ISABEL SIDDIQI &
  SHAHDANIAN P.C.
  Richard D. Trenk, Esq.
  Robert S. Roglieri, Esq.
  290 Mt. Pleasant Avenue, Suite 2370
  Livingston, New Jersey 07037
  Email: rtrenk@trenkisabel.law
  Email: rroglieri@trenkisabel.law

         13.8. Controlling Documents. Notwithstanding anything to the contrary contained
 herein or in the Disclosure Statement, in the event and to the extent that any provision of the Plan
 is inconsistent with any provision of the Disclosure Statement, the provisions of the Plan shall
 control and take precedence. In the event of any inconsistency between the Plan and the
 Confirmation Order, the Confirmation Order shall control.

        13.9. Filing of Additional Documents. Prior to the Effective Date, the Plan Proponent
 may File with the Bankruptcy Court such agreements or other documents as may be necessary or
 appropriate to effectuate and further evidence the terms and conditions of the Plan that are not
 inconsistent with the terms of the Plan. On or after the Effective Date, the Reorganized Debtor
 may file with the Bankruptcy Court such agreements or other documents as may be necessary or
 appropriate to effectuate the terms and conditions of the Plan.

         13.10. Reservation of Rights. If the Plan is not confirmed by the Bankruptcy Court for
 any reason, the rights of the Debtor and all parties in interest in the Bankruptcy Case shall and will
 be reserved in full. Statements and provisions made in the Plan or in the Disclosure Statement are
 made only for the purpose(s) of the Plan. If the Plan is withdrawn, the Confirmation Order is not
 entered, or if the Effective Date does not occur, no Person shall be bound by or deemed prejudiced
 by any such statement or provision.

         13.11. Computation of Time. In computing any period of time prescribed or allowed by
 this Plan, unless otherwise specifically designated herein, the provisions of Bankruptcy Rule
 9006(a) shall apply.




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         13.12. Successors and Assigns. The rights, duties and obligations of any Person named
 or referred to in this Plan, including all Creditors, shall be binding on, and shall inure to the benefit
 of, the successors and assigns of such Person.

         13.13. Waiver of Subordination. Notwithstanding any provision of this Plan to the
 contrary, all holders of Claims shall be deemed to have waived any and all contractual
 subordination rights to which they may have with respect to the distributions made pursuant to this
 Plan and the Confirmation Order shall permanently enjoin, effective as of the Effective Date, all
 holders of Claims from enforcing or attempting to enforce any such rights against any Person
 receiving distributions under this Plan.

         13.14. Post-Effective Date Professional Fees. The reasonable fees and actual and
 necessary expenses incurred after the Effective Date by professionals for the Reorganized Debtor
 shall be paid by the Reorganized Debtor upon the submission of an invoice to the Reorganized
 Debtor without the need for further notice to any Person or approval by the Bankruptcy Court.

         13.15. Governing Law. Unless a rule of law or procedure is supplied by federal law,
 including the Bankruptcy Code and Bankruptcy Rules, (a) the construction and implementation of
 this Plan and any agreements, documents, and instruments executed in connection with this Plan
 and (b) governance matters shall be governed by the laws of the State of New Jersey, without
 giving effect to the principles of conflict of law thereof.

         13.16. Headings. Headings are used in this Plan for convenience and reference only and
 shall not constitute a part of this Plan for any other purpose.

         13.17. No Admissions. Notwithstanding anything herein to the contrary, nothing
 contained in this Plan shall be deemed an admission by any entity with respect to any matter set
 forth herein.

     Dated: January 30, 2024

     IQ DENTAL SUPPLY, LLC

     By: /s/ Sergey Kunin
     Sergey Kunin,
     Managing Member

     TRENK ISABEL SIDDIQI
      & SHAHDANIAN P.C.

     By: /s/ Richard D. Trenk
     Richard D. Trenk, Esq.
     Robert S. Roglieri, Esq.

  Counsel to IQ Dental Supply, LLC




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